                  UNITED Case 17-21646-LMI
                         STATES BANKRUPTCYDoc    2 Filed
                                             COURT,        09/25/17
                                                       SOUTHERN         Page 1OF
                                                                   DISTRICT    ofFLORIDA
                                                                                 1
                              CHAPTER 13 PLAN (Individual Adjustment of Debts)

DEBTOR: J h o n J . A r a n g o               JOINT DEBTOR:                                                 CASE NO.:
Last Four Digits of SS# 4014                  Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not
collected will be paid to creditors pro-rata under the plan:

          A.      $ 227.46       for months 1to 60 ; in order to pay the following creditors:

Administrative:             Attorney's Fee - $ 3650 TOTAL PAID $ 1900 Balance Due $ 1750
                            payable $ 175 /month (Months 1to 10)

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1. None                                      Arrearage on Petition Date $
Address:                                           Arrears Payment      $                       /month (Months          to        )
                                                   Regular Payment      $                       /month (Months          to        )
Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

     Secured Creditor        Description of Collateral   Interest          Plan Payments         Months of Payment      Total Plan Payments
                             and Value of Collateral       Rate
None                         $                                %        $                               To
Priority Creditors: [as defined in 11 U.S.C. §507]

1. None                              Total Due $
                                     Payable $                /month (Months               to     ) Regular Payment $


Unsecured Creditors: Pay $ 29.72/month (Months 1to 10) and Pay $ 204.72 /month (Months 11 to 60).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: The debtor is current with secured creditors, Palm East Gardens, Inc., TD Auto Finance and US
Bank Home Mortgage and will continued to pay said creditor directly outside the plan.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
       /s/Robert Sanchez, Esq.
Attorney for the Debtor                                             Joint Debtor
Date: 9-25-2017                                                     Date:



LF-31 (rev. 01/08/10)
